Case 2:13-cv-00376-SPC-UAM Document 12 Filed 08/19/13 Page 1 of 2 PageID 34




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION


BARBARA CHENETTE,

                  Plaintiff,

v.                                                              Case No: 2:13-cv-376-FtM-38UAM

ENHANCED RECOVERY
COMPANY, LLC,

                Defendant.
                                                 /
                                                ORDER1

        This matter comes before the Court on the Plaintiff, Barbara Chennette's Notice

of Voluntary Dismissal (Doc. #11) filed on August 14, 2013.                      Federal Rule of Civil

Procedure 41(a)(1)(A), allows a plaintiff to dismiss a case without a court order. The

Rule reads in pertinent part:

                        Subject to Rules 23(e), 23.1, 23.2 and 66 and any applicable
                        federal statute, the plaintiff may dismiss an action without a court
                        order by filing:
                        (i)    A notice of dismissal before the opposing party serves either
                               an answer or a motion for summary judgment; or
                        (ii)   A stipulation of dismissal signed by all parties who have
                               appeared.

Fed. R. Civ. P. 41(a)(1)(A).




1
  Disclaimer: Documents filed in CM/ECF may contain hyperlinks to other documents or Web sites.
These hyperlinks are provided only for users’ convenience. Users are cautioned that hyperlinked
documents in CM/ECF are subject to PACER fees. By allowing hyperlinks to other Web sites, this court
does not endorse, recommend, approve, or guarantee any third parties or the services or products they
provide on their Web sites. Likewise, the court has no agreements with any of these third parties or their
Web sites. The court accepts no responsibility for the availability or functionality of any hyperlink. Thus,
the fact that a hyperlink ceases to work or directs the user to some other site does not affect the opinion
of the court.
Case 2:13-cv-00376-SPC-UAM Document 12 Filed 08/19/13 Page 2 of 2 PageID 35




      In this instance, the Plaintiff informs the Court that she voluntarily dismisses the

Complaint with prejudice. No answer or summary judgment has been file, therefore, the

case is due to be dismissed with prejudice.

      Accordingly, it is now

      ORDERED:

      The Plaintiff, Barbara Chennette's Complaint (Doc. # 1) is hereby DISMISSED

with prejudice.   The Clerk of the Court is directed to enter judgment accordingly,

terminate any pending motions, and close the case.

      DONE and ORDERED in Fort Myers, Florida this 19th day of August, 2013.




Copies: All Parties of Record




                                              2
